Case 1:05-cv-OlO78-.]DT-STA Document 17 Filed 05/09/05 Page 1 of 2 Page|D 11

JUD|C|AL PANEL ON
MULT|D|STBICT LIT|GAT'|ON

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DoCKETNo. 1657 ctea§!§E<§’FFicE

BEFORE THE JUDICIAL PANEL ON MUL TIDISTRICT LITIGA TION

IN RE l/TOXXPR_ODUCTS LIABILITYLITIGA TION
(SEE A TTACHED SCHEDULE)

CONDITIONAL TRANSFER ORDER (CTO~G)

On February 16, 2005, the Panel transferred 138 civil actions to the United States District Court for the
Eastem District of Louisiana for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C. §
1407. Since that time, 280 additional actions have been transferred to the Eastem District of Louisiana.
With the consent of that court, all such actions have been assigned to the Honorable Eldon E. Fallon.

It appears that the actions on this conditional transfer order involve questions of fact which are common to
the actions previously transferred to the Eastem District of Louisiana and assigned to Judge Fallon.

Pursuant to Rule 7.4 of the Rules of Procedure of the Judicial Panel on Mu]tidistrict Liti ation, 199 F.R.D.
425, 43 5-36 (2001), these actions are transferred under 28 U.S.C. § 1407 to the Eastern District of
Louisiana for the reasons stated in the order of February 16, 2005, _____F.Supp.Zd__ (J.P.M.L. 2005),
and, with the consent of that court, assigned to the Honorable Eldon E. Fallon.

This order does not become effective until it is filed in the Office of the Clerk of the United States Distn`ct
Court for the Eastem District of Louisiana. The transmittal of this order to said Clerk shall be stayed

fitieen (15) days from the entry thereof and if any party files a notice of opposition with the Clerk of the
Panel within this fifteen (15) day period, the stay will be continued until further order of the Panel.

FoR THE PANEL:

WQ, A¢J_

Michael J. seek

 

 

 

 

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Clerk of the Panel m

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Inasn_'iuch as no objection is tila
pending at this time, the `“’
stay is |itted. z
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Honorable J ames Todd
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